Case 1:18-cv-01702-RJD-ST Document 12 Filed 06/07/18 Page 1 of 7 PagelD #: 38

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Attorneys for Defendant
Citibank, N_A.

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

WANDA TIMMS,
Plaintife CASE NO. 18 cv 1702-RJD-ST
- against - ANSWER
CITIBANK, N.A.,
Defendant.

 

 

Defendant Citibank, N.A. (“Citibank”), by its attorneys, Zeichner Ellman
& Krause LLP, answers the Complaint (the “Complaint”), upon information and belief,

as follows:

1. It denies each and every allegation contained in paragraphs 1-2 and

refers to the Complaint for plaintiff's characterization of the pleadings contained therein.

2. It has no knowledge or information sufficient to form a belief as to —

the truth of any of the allegations contained in paragraphs 3, 9-12, 14-16 and 21.

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Case 1:18-cv-01702-RJD-ST Document 12 Filed 06/07/18 Page 2 of 7 PagelD #: 39

3. It denies each and every allegation contained in paragraphs 4, 6-8

and 33, and refers all questions of law to the Court.
4, It admits the allegations in paragraph 5.

5. It denies each and every allegation contained in paragraphs 13
and 18, and refers to plaintiffs Citibank account statements for the transactions

recorded therein.

6. It has no knowledge or information sufficient to form a belief as to
the truth of any of the allegations contained in paragraphs 17, 19-20 and 26, and refers to

relevant documents for their contents.

7. It denies each and every allegation contained in paragraphs 32, 47-

50, 54-59, 61-64, 68-72 and 77-78.

8. It has no knowledge or information sufficient to form a belief as to
the truth of any of the allegations contained in paragraphs 22, 24 and 27-39, except that
there were communications and correspondence between the parties and refers to the

relevant documents for their contents.

9, It denies each and every allegation contained in paragraphs 23
and 25, and refers to the referenced correspondence for its contents and refers all questions

of law to the Court.
Case 1:18-cv-01702-RJD-ST Document 12 Filed 06/07/18 Page 3 of 7 PagelD #: 40

10. It has no knowledge or information sufficient to form a belief as to
the truth of any of the allegations contained in paragraphs 34-44, 46, 52-53 and 74-76, and

refers all questions of law to the Court.

11. It denies each and every allegation contained in paragraphs. 66-67,
except that plaintiff's account with Citibank is governed by a Client Manual and refers to

that document for its terms.
FIRST AFFIRMATIVE DEFENSE
12. The complaint fails to state a claim for relief against Citibank.
SECOND AFFIRMATIVE DEFENSE

13. The complaint fails to state a claim for relief against Citibank _ |
pursuant to the Electronic Funds Transfers Act (“EFTA”) and 12 C.F.R. § 205

(Regulation E).
THIRD AFFIRMATIVE DEFENSE

14. . The complaint fails to state a claim for relief against Citibank

pursuant to the New York General Business Law § 349.

FOURTH AFFIRMATIVE DEFENSE

15. The complaint fails to state a claim against Citibank for negligence. —
Case 1:18-cv-01702-RJD-ST Document 12 Filed 06/07/18 Page 4 of 7 PagelD #: 41

FIFTH AFFIRMATIVE DEFENSE

16. The complaint fails to state a claim against Citibank for unjust

enrichment.
SIXTH AFFIRMATIVE DEFENSE

17. The complaint fails to state a claim against Citibank for breach of

contract,
SEVENTH AFFIRMATIVE DEFENSE

18. The complaint fails to state a claim against Citibank for breach of

the duty of good faith and fair dealing.
EIGHTH AFFIRMATIVE DEFENSE

19. The complaint fails to state a claim for relief against Citibank for

treble damages under the EFTA.
NINTH AFFIRMATIVE DEFENSE

20. The common law causes of action alleged in the complaint are

precluded and preempted by the federal EFTA claims asserted by plaintiff.
- TENTH AFFIRMATIVE DEFENSE

21. — The complaint fails to state a claim for relief against Citibank for

punitive damages.
Case 1:18-cv-01702-RJD-ST Document 12 Filed 06/07/18 Page 5 of 7 PagelD #: 42

ELEVENTH AFFIRMATIVE DEFENSE

22. The complaint fails to state a claim for relief against Citibank for

consequential damages.
TWELFTH AFFIRMATIVE DEFENSE

23. The complaint fails to state a claim against Citibank for injunctive |

relief.
THIRTEENTH AFFIRMATIVE DEFENSE

24. The complaint fails to state a claim for relief against Citibank for

attorneys’ fees.
FOURTEENTH AFFIRMATIVE DEFENSE

25. Plaintiff may not maintain this action, in whole or in part, pursuant

to the applicable customer agreement between plaintiff and Citibank,
FIFTEENTH AFFIRMATIVE DEFENSE

26. Citibank has defenses to the causes of action alleged in the -

complaint based on documentary evidence.
SIXTEENTH AFFIRMATIVE DEFENSE

27. Plaintiff's claims are barred by the doctrines of ratification, estoppel,

waiver, laches and in pari delicto.
Case 1:18-cv-01702-RJD-ST Document 12 Filed 06/07/18 Page 6 of 7 PagelD #: 43

SEVENTEENTH AFFIRMATIVE DEFENSE

28. Any damages plaintiff allegedly suffered were caused, in whole or

in part, by superseding and/or intervening acts of parties other than Citibank.

EIGHTEENTH AFFIRMATIVE DEFENSE

29. Any damages plaintiff sustained were caused in whole or in part by

her own actions or inactions.
NINETEENTH AFFIRMATIVE DEFENSE

30. Plaintiff has not suffered any damages as a result of any alleged

conduct of Citibank.
TWENTIETH AFFIRMATIVE DEFENSE

31. To the extent plaintiff has a policy of insurance covering any losses
referred to in the complaint, plaintiff is precluded from recovery of such funds from

Citibank.
TWENTY-FIRST AFFIRMATIVE DEFENSE

32. To the extent plaintiff has obtained or obtains restitution or other
payment from anyone concerning the allegations made in the complaint, Citibank is entitled

to an offset in like amount against claims made against it in this action.
Case 1:18-cv-01702-RJD-ST Document 12 Filed 06/07/18 Page 7 of 7 PagelD #: 44

TWENTY-SECOND AFFIRMATIVE DEFENSE

33. If the damages plaintiff allegedly sustained occurred at the time and
place and in the manner alleged in the complaint, such damages and injuries are
attributable, in whole or in part, to the plaintiff's culpable conduct, and if any damages are
recoverable against Citibank, the amount of such damages shall be diminished in the
proportion to which the culpable conduct attributable to plaintiff bears to the culpable

conduct which caused the damages.
TWENTY-THIRD AFFIRMATIVE DEFENSE

34. Plaintiff failed to mitigate damages.

WHEREFORE, defendant Citibank demands judgment dismissing the
complaint in all respects and for such other relief as is just.
Dated: New York, New York

June 7, 2018 - co
ZEICHNER ELLMAN & KRAUSE LLP

   

By: , At LA fA J
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